          Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 1 of 16




 1   JEAN A. WILLIAMS
     Acting Assistant Attorney General
 2   LESLIE M. HILL (D.C. Bar No. 476008)
 3   Leslie.Hill@usdoj.gov
     Environmental Defense Section
 4   Environment & Natural Resources Division
     United States Department of Justice
 5   4 Constitution Square
 6   150 M Street, N.E.
     Suite 4.149
 7   Washington, D.C. 20002
     Telephone: (202) 514-0375
 8
     Facsimile: (202) 514-8865
 9
     Attorneys for Defendant
10
     [additional counsel listed in signature block]
11
12                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
14
     CENTER FOR BIOLOGICAL DIVERSITY
15   et al.,
16                                                      Case No. 3:20-cv-06020-WHA
                            Plaintiffs,
17                                                      JOINT MOTION TO ENTER CONSENT
                     v.                                 DECREE
18
     MICHAEL S. REGAN, in his official capacity
19   as the Administrator of the United States
20   Environmental Protection Agency,

21                          Defendant.
22
23
            Defendant Michael S. Regan, in his official capacity as the Administrator of the United
24   States Environmental Protection Agency (“EPA”), and the Center for Biological Diversity and
25   the Center for Environmental Health (collectively, “Plaintiffs”), by and through the undersigned
26   counsel, hereby jointly move the Court to enter the attached Consent Decree (attached as
27   Exhibit A). In support of this motion, the Plaintiffs and EPA (collectively, the “Parties”) state as
28   follows:


                                                                   JOINT MOTION TO ENTER CONSENT DECREE
                                                                             CASE NO. 3:20-cv-06020-WHA
          Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 2 of 16




 1           1.        Plaintiffs’ First Amended Complaint (Dkt. No. 24) alleges that EPA has failed to
 2   undertake certain non-discretionary duties under the Clean Air Act (“CAA”), 42 U.S.C. §§
 3   7401-7671q, and that such alleged failures are actionable under CAA section 304(a)(2),
 4   42 U.S.C. § 7604(a)(2).
 5           2.        In Claim 1 of the First Amended Complaint, Plaintiffs allege that EPA issued a
 6   limited disapproval and limited approval of a permitting rule, Rule 1-220, New Source Review
 7   (“NSR”) Standards (including [Prevention of Significant Deterioration (“PSD”)] Evaluations),
 8   submitted to EPA on November 15, 2016 as a revision to the Mendocino County Air Quality
 9   Management District (“MCAQMD”) portion of the California SIP. Final Rule, 82 Fed. Reg.
10   30,770 (July 3, 2017). Plaintiffs further allege that EPA failed to approve a SIP revision or
11   promulgate a FIP addressing the deficiencies identified in the limited disapproval of Rule 1-220
12   within two years of the effective date of EPA’s July 3, 2017 final rule. See First Am. Compl.
13   ¶¶ 50-52.
14           3.        In Claim 2 of the First Amended Complaint, Plaintiffs allege that EPA has not
15   taken final action on the following elements of three SIP submittals or revisions for the Eastern
16   Kern (Kern County), California nonattainment area for the 2008 ozone National Ambient Air
17   Quality Standards (“2008 ozone NAAQS”) and that more than 12 months have passed since a
18   determination of completeness (including completeness by operation of law), see First Am.
19   Compl. ¶¶ 54-56:
20   Item         State Implementation Plan Submittal Submittal Date             Date of
                  and/or Applicable Elements or       (on or about)              Completeness by
21                Control Techniques Guideline                                   EPA Determination
22                                                                               or by Operation of
                                                                                 Law
23    2(a)        Contingency measures for volatile      October 25, 2017        April 25, 2018
                  organic compounds (“VOC”) and
24
                  nitrogen oxides (“NOX”) pursuant to 42
25                U.S.C. §§ 7502(c)(9) and 7511a(c)(9)
                  and 40 C.F.R. § 51.1102 (hereinafter
26                “Contingency Measures”)
      2(b)        Base year emissions inventory          October 25, 2017        April 25, 2018
27
                  requirements pursuant to 42 U.S.C.
28                §§ 7502(c)(3) and 7511a(a)(1) and 40


                                                                   JOINT MOTION TO ENTER CONSENT DECREE
                                                                             CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 3 of 16




 1   Item      State Implementation Plan Submittal Submittal Date           Date of
               and/or Applicable Elements or       (on or about)            Completeness by
 2             Control Techniques Guideline                                 EPA Determination
 3                                                                          or by Operation of
                                                                            Law
 4             C.F.R. § 51.1115(a) (“Emissions
               Inventory”)
 5
     2(c)      Emissions statement pursuant to 42       October 25, 2017    April 25, 2018
 6             U.S.C. § 7511a(a)(3)(B) and 40 C.F.R.
               § 51.1102 (“Ozone Emissions
 7             Statement”)
 8   2(d)      Nonattainment new source review          May 23, 2018        August 28, 2018
               pursuant to 42 U.S.C. § 7511a(a)(2)(C)
 9             (“NNSR”)
     2(e)      Attainment demonstration pursuant to     October 25, 2017    April 25, 2018
10             42 U.S.C. §§ 7502(c)(1) and
11             7511a(c)(2)(A) and 40 C.F.R.
               § 51.1108(b) (“Serious Area Ozone
12             Attainment Demonstration”)
     2(f)      Reasonably Available Control             August 9, 2017      February 9, 2018
13             Technology (“RACT”) Non-Control
14             Techniques Guideline (“CTG”) VOC
               for Major Sources pursuant to
15             42 U.S.C. § 7511a(b)(2)(C) (“RACT
               Non-CTG VOC for Major Sources”)
16
     2(g)      Control of VOC Emissions from            August 9, 2017      February 9, 2018
17             Coating Operations at Aerospace
               Manufacturing and Rework Operations,
18             EPA-453/R-97-004 (Dec. 1997)
19             pursuant to 42 U.S.C. § 7511a(b)(2)
     2(h)      CTG for Automobile and Light-Duty        August 9, 2017      February 9, 2018
20             Truck Assembly Coatings, EPA 453/R-
               08-006 (Sept. 2008) pursuant to
21             42 U.S.C. § 7511a(b)(2)
22   2(i)      Control of VOC from Bulk Gasoline        August 9, 2017      February 9, 2018
               Plants, EPA-450/2-77-035 (Dec. 1977)
23             pursuant to 42 U.S.C. § 7511a(b)(2)
     2(j)      Control of VOC Equipment Leaks from      August 9, 2017      February 9, 2018
24             Natural Gas/Gasoline Processing
25             Plants, EPA-450/3-83-007 (Dec. 1983)
               pursuant to 42 U.S.C. § 7511a(b)(2)
26   2(k)      Control of Volatile Organic Emissions    August 9, 2017      February 9, 2018
               from Existing Stationary Sources –
27
               Volume VII: Factory Surface Coating
28             of Flat Wood Paneling, EPA-450/2-78-
               032 (June 1978) pursuant to 42 U.S.C.

                                                               JOINT MOTION TO ENTER CONSENT DECREE
                                                                         CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 4 of 16




 1   Item      State Implementation Plan Submittal Submittal Date          Date of
               and/or Applicable Elements or       (on or about)           Completeness by
 2             Control Techniques Guideline                                EPA Determination
 3                                                                         or by Operation of
                                                                           Law
 4             § 7511a(b)(2)
 5   2(l)      CTG for Fiberglass Boat                 August 9, 2017      February 9, 2018
 6             Manufacturing Materials, EPA 453/R-
               08-004 (Sept. 2008) pursuant to
 7             42 U.S.C. § 7511a(b)(2)
     2(m)      CTG for Flat Wood Paneling Coatings,    August 9, 2017      February 9, 2018
 8
               EPA-453/R-06-004 (Sept. 2006)
 9             pursuant to 42 U.S.C. § 7511a(b)(2)
     2(n)      CTG for Flexible Package Printing,      August 9, 2017      February 9, 2018
10             EPA-453/R-06-003 (Sept. 2006)
11             pursuant to 42 U.S.C. § 7511a(b)(2)
     2(o)      Control of VOC Leaks from Synthetic     August 9, 2017      February 9, 2018
12             Organic Chemical Polymer and Resin
               Manufacturing Equipment, EPA-450/3-
13             83-006 (Mar. 1984) pursuant to
14             42 U.S.C. § 7511a(b)(2)
     2(p)      Control of Volatile Organic Emissions   August 9, 2017      February 9, 2018
15             from Existing Stationary Sources –
               Volume VIII: Graphic Arts-
16             Rotogravure and Flexography, EPA-
17             450/2-78-033 (Dec. 1978) pursuant to
               42 U.S.C. § 7511a(b)(2)
18   2(q)      CTG for Industrial Cleaning Solvents,   August 9, 2017      February 9, 2018
               EPA-453/R-06-001 (Sept. 2006)
19
               pursuant to 42 U.S.C. § 7511a(b)(2)
20   2(r)      CTG for Large Appliance Coatings,       August 9, 2017      February 9, 2018
               EPA-453/R-07-004 (Sept. 2007)
21             pursuant to 42 U.S.C. § 7511a(b)(2)
22   2(s)      Control of VOC Emissions from Large     August 9, 2017      February 9, 2018
               Petroleum Dry Cleaners, EPA-450/3-
23             82-009 (Sept. 1982) pursuant to
               42 U.S.C. § 7511a(b)(2)
24   2(t)      Control of VOC Leaks from Gasoline      August 9, 2017      February 9, 2018
25             Tank Trucks and Vapor Collection
               Systems, EPA-450/2-78-051 (Dec.
26             1978) pursuant to 42 U.S.C.
               § 7511a(b)(2)
27
     2(u)      Control of VOC Leaks from Petroleum     August 9, 2017      February 9, 2018
28             Refinery Equipment, EPA-450/2-78-
               036 (June 1978) pursuant to 42 U.S.C.

                                                              JOINT MOTION TO ENTER CONSENT DECREE
                                                                        CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 5 of 16




 1       Item    State Implementation Plan Submittal Submittal Date            Date of
                 and/or Applicable Elements or       (on or about)             Completeness by
 2               Control Techniques Guideline                                  EPA Determination
 3                                                                             or by Operation of
                                                                               Law
 4               § 7511a(b)(2)
 5       2(v)    CTG for Offset Lithographic Printing      August 9, 2017      February 9, 2018
 6               and Letterpress Printing, EPA-453/R-
                 06-002 (Sept. 2006) pursuant to
 7               42 U.S.C. § 7511a(b)(2)
         2(w)    Control of VOC Emissions from             August 9, 2017      February 9, 2018
 8
                 Manufacture of High-Density
 9               Polyethylene, Polypropylene, and
                 Polystyrene Resins, EPA-450/3-83-008
10               (Nov. 1983) pursuant to 42 U.S.C.
                 § 7511a(b)(2)
11
         2(x)    Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
12               from Manufacture of Pneumatic
                 Rubber Tires, EPA-450/2-78-030 (Dec.
13               1978) pursuant to 42 U.S.C.
14               § 7511a(b)(2)
         2(y)    Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
15               from Manufacture of Synthesized
                 Pharmaceutical Products, EPA-450/2-
16               78-029 (Dec. 1978) pursuant to
17               42 U.S.C. § 7511a(b)(2)
         2(z)    CTG for Metal Furniture Coatings,         August 9, 2017      February 9, 2018
18               EPA 453/R-07-005 (Sept. 2007)
                 pursuant to 42 U.S.C. § 7511a(b)(2)
19
         2(aa)   CTG for Miscellaneous Industrial          August 9, 2017      February 9, 2018
20               Adhesives, EPA 453/R-08-005 (Sept.
                 2008) pursuant to 42 U.S.C.
21               § 7511a(b)(2)
22       2(bb)   CTG for Miscellaneous Metal and           August 9, 2017      February 9, 2018
                 Plastic Parts Coatings, EPA 453/R-08-
23               003 (Sept. 2008)1 pursuant to 42 U.S.C.
                 § 7511a(b)(2)
24       2(cc)   CTG for Paper, Film, and Foil             August 9, 2017      February 9, 2018
25               Coatings, EPA 453/R-07-003 (Sept.

26
     1
      The First Amended Complaint refers to two separate CTGs, “RACT VOC CTG Miscellaneous
27
     Metal Products Coatings (2008),” and “RACT VOC CTG Plastic Parts Coatings (2008).” First
28   Amended Complaint, tbl. 1. These requirements are contained in a single CTG document.


                                                                  JOINT MOTION TO ENTER CONSENT DECREE
                                                                            CASE NO. 3:20-cv-06020-WHA
         Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 6 of 16




 1   Item    State Implementation Plan Submittal Submittal Date          Date of
             and/or Applicable Elements or       (on or about)           Completeness by
 2           Control Techniques Guideline                                EPA Determination
 3                                                                       or by Operation of
                                                                         Law
 4           2007) pursuant to 42 U.S.C.
             § 7511a(b)(2)
 5
     2(dd)   Control of Volatile Organic Emissions   August 9, 2017      February 9, 2018
 6           from Petroleum Liquid Storage in
             External Floating Roof Tanks, EPA-
 7           450/2-78-047 (Dec. 1978) pursuant to
             42 U.S.C. § 7511a(b)(2)
 8
     2(ee)   Control of Refinery Vacuum Producing    August 9, 2017      February 9, 2018
 9           Systems, Wastewater Separators, and
             Process Unit Turnarounds, EPA-450/2-
10           77-025 (Oct. 1977) pursuant to
11           42 U.S.C. § 7511a(b)(2)
     2(ff)   Control of VOC Emissions from Air       August 9, 2017      February 9, 2018
12           Oxidation Processes in Synthetic
             Organic Chemical Manufacturing
13           Industry (“SOCMI”), EPA-450/3-84-
14           015 (Dec. 1984) pursuant to 42 U.S.C.
             § 7511a(b)(2)
15   2(gg)   Control of VOC Emissions from           August 9, 2017      February 9, 2018
             Reactor Processes and Distillation
16
             Operations in SOCMI, EPA-450/4-91-
17           031 (Aug. 1993) pursuant to 42 U.S.C.
             § 7511a(b)(2)
18   2(hh)   CTG for Shipbuilding and Ship Repair    August 9, 2017      February 9, 2018
19           Operations (Surface Coating), 61 Fed.
             Reg-44,050 (Aug. 27, 1996) pursuant
20           to 42 U.S.C. § 7511a(b)(2); see also
             EPA-453/R-94-032
21   2(ii)   Control of Volatile Organic Emissions   August 9, 2017      February 9, 2018
22           from Solvent Metal Cleaning, EPA-
             450/2-77-022 (Nov. 1977) pursuant to
23           42 U.S.C. § 7511a(b)(2)
     2(jj)   Design Criteria for Stage I Vapor       August 9, 2017      February 9, 2018
24           Control Systems – Gasoline Service
25
26
27
28


                                                            JOINT MOTION TO ENTER CONSENT DECREE
                                                                      CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 7 of 16




 1       Item   State Implementation Plan Submittal Submittal Date           Date of
                and/or Applicable Elements or       (on or about)            Completeness by
 2              Control Techniques Guideline                                 EPA Determination
 3                                                                           or by Operation of
                                                                             Law
 4             Stations, EPA-450/R-75-102 (Nov.
               1975)2 pursuant to 42 U.S.C.
 5
               § 7511a(b)(2)
 6       2(kk) Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
               from Storage of Petroleum Liquids in
 7             Fixed-Roof Tanks, EPA-450/2-77-036
               (Dec. 1977) pursuant to 42 U.S.C.
 8
               § 7511a(b)(2)
 9       2(ll) Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
               from Existing Stationary Sources –
10             Volume IV: Surface Coating for
11             Insulation of Magnet Wire, EPA-450/2-
               77-033 (Dec. 1977) pursuant to
12             42 U.S.C. § 7511a(b)(2)
         2(mm) Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
13             from Existing Stationary Sources –
14             Volume II: Surface Coating of Cans,
               Coils, Paper, Fabrics, Automobiles, and
15             Light-Duty Trucks, EPA-450/2-77-008
               (May 1977)3 pursuant to 42 U.S.C.
16
               § 7511a(b)(2)
17       2(nn) Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
               from Existing Stationary Sources –
18             Volume V: Surface Coating of Large
               Appliances, EPA-450/2-77-034 (Dec.
19
               1977) pursuant to 42 U.S.C.
20             § 7511a(b)(2)
         2(oo) Control of Volatile Organic Emissions     August 9, 2017      February 9, 2018
21             from Existing Stationary Sources –
22             Volume III: Surface Coating of Metal
               Furniture, EPA-450/2-77-032 (Dec.
23
24   2
       This document is regarded as a CTG although it was never published with an EPA document
25   number.
     3
       The Complaint refers to five separate CTGs, “RACT VOC CTG Surface Coating of
26   Automobiles and Light-Duty Trucks,” “RACT VOC CTG Surface Coating of Cans,” “RACT
     VOC CTG Surface Coating of Coils,” “RACT VOC CTG Surface Coating of Fabrics,” and
27
     “RACT VOC CTG Surface Coating of Paper.” First Amended Complaint, tbl. 1. These are a
28   single CTG document.


                                                                JOINT MOTION TO ENTER CONSENT DECREE
                                                                          CASE NO. 3:20-cv-06020-WHA
          Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 8 of 16




 1    Item    State Implementation Plan Submittal Submittal Date          Date of
              and/or Applicable Elements or       (on or about)           Completeness by
 2            Control Techniques Guideline                                EPA Determination
 3                                                                        or by Operation of
                                                                          Law
 4            1977) pursuant to 42 U.S.C.
              § 7511a(b)(2)
 5
      2(pp)   Control of Volatile Organic Emissions   August 9, 2017      February 9, 2018
 6            from Existing Stationary Sources –
              Volume VI: Surface Coating of
 7            Miscellaneous Metal Parts and
              Products), EPA-450/2-78-015 (June
 8
              1978) pursuant to 42 U.S.C.
 9            § 7511a(b)(2)
      2(qq)   Control of Hydrocarbons from Tank       August 9, 2017      February 9, 2018
10            Truck Gasoline Loading Terminals,
11            EPA-450/2-77-026 (Oct. 1977)
              pursuant to 42 U.S.C. § 7511a(b)(2)
12    2(rr)   Control of Volatile Organic Emissions   August 9, 2017      February 9, 2018
              from Use of Cutback Asphalt, EPA-
13            450/2-77-037 (Dec. 1977) pursuant to
14            42 U.S.C. § 7511a(b)(2)
      2(ss)   Control of VOC Emissions from Wood      August 9, 2017      February 9, 2018
15            Furniture Manufacturing Operations,
              EPA-453/R-96-007 (Apr. 1996)
16
              pursuant to 42 U.S.C. § 7511a(b)(2)
17    2(tt)   Reasonable Further Progress (“RFP”)     October 25, 2017    April 25, 2018
              VOC and NOX - Serious pursuant to 42
18            U.S.C. §§ 7511a(b)(1) and
19            7511a(c)(2)(B) and 40 C.F.R.
              § 51.1110(a)(2)
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //


                                                             JOINT MOTION TO ENTER CONSENT DECREE
                                                                       CASE NO. 3:20-cv-06020-WHA
         Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 9 of 16




 1          4.     In Claim 3 of the First Amended Complaint, Plaintiffs allege that EPA has not
 2   taken final action on nonattainment SIP submittals from the State of Colorado for the Denver
 3   Metro/North Front Range, Colorado nonattainment area for the 2008 ozone NAAQS addressing
 4   the following elements, and that more than 12 months have passed since a determination of
 5   completeness (including completeness by operation of law), see First Am. Compl. ¶¶ 58-60:
 6    Item State Implementation Plan               Submittal Date (on       Date of Completeness
           Submittal and/or Applicable             or about)                by EPA
 7         Elements or Control Techniques                                   Determination or by
 8         Guidelines                                                       Operation of Law
      3(a) RACT VOC Control Techniques             May 31, 2017             December 1, 2017
 9         Guidelines for Metal Furniture
           Coatings, EPA 453/R-07-005 (Sept.
10
           2007)
11    3(b) RACT VOC Control Techniques             May 31, 2017             December 1, 2017
           Guidelines for Miscellaneous Metal
12         and Plastic Parts Coatings, EPA
           453/R-08-003 (Sept. 2008) (only to
13
           the extent the CTG addresses
14         miscellaneous metal products
           coatings)
15    3(c) RACT VOC CTG, Control of                May 31, 2017             December 1, 2017
16         Volatile Organic Compound
           Emissions from Wood Furniture
17         Manufacturing Operations, EPA-
           453/R-96-007 (Apr. 1996)
18    3(d) RACT VOC CTG for Industrial             May 31, 2017             December 1, 2017
19         Cleaning Solvents, EPA-453/R-06-
           001 (Nov. 2006)
20    3(e) RACT VOC CTG for Control of             May 31, 2017             December 1, 2017
           Volatile Organic Compound
21
           Emissions from Coating Operations
22         at Aerospace Manufacturing and
           Rework Operations, EPA-453/R-
23         97-004 (Dec. 1997)
      3(f) Reg. No. 7, Section X (Use of           May 31, 2017             December 1, 2017
24
           Cleaning Solvents)
25    3(g) Reg. No. 7, Section XIX (Control        May 31, 2017             December 1, 2017
           of Emissions from Specific Major
26         Sources of VOC and/or NOx in the
27         8-Hour Ozone Control Area)

28


                                                                JOINT MOTION TO ENTER CONSENT DECREE
                                                                          CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 10 of 16




 1       Item State Implementation Plan               Submittal Date (on        Date of Completeness
              Submittal and/or Applicable             or about)                 by EPA
 2            Elements or Control Techniques                                    Determination or by
 3            Guidelines                                                        Operation of Law
         3(h) RACT Non-CTG for Major NOx              May 8, 20194              November 8, 2019
 4            Sources/Submittal concerning
              combustion sources:
 5
              Colorado Reg. 7, Sections XVI
 6            (Control of Emissions from
              Stationary and Portable Combustion
 7            Equipment in the 8-Hour Ozone
              Control Area), and XIX (Control of
 8
              Emissions from Specific Major
 9            Sources of VOC and/or NOx in the
              8-Hour Ozone Control Area)
10       3(i) RACT Non-CTG VOC for Major              May 8, 2019               November 8, 2019
11            Sources / Submittal concerning
              brewing related activities and wood
12            furniture surface coating operations:
              Colorado Reg. 7, Sections I5
13            (Applicability), II (General
14            Provisions), VI (Storage and
              Transfer of Petroleum Liquid), IX
15            (Surface Coating Operations), X
              (Use of Cleaning Solvents), XII
16            (Volatile Organic Compound
17            Emissions from Oil and Gas
              Operations), XIII (Graphic Arts and
18            Printing), XVI (Control of
              Emissions from Stationary and
19            Portable Combustion Equipment in
20            the 8-Hour Ozone Control Area),
              XVII (Statewide Controls for Oil
21            and Gas Operations and Natural
              Gas-Fired Reciprocating Internal
22
              Combustion Engines), XVIII
23            (Natural Gas-Actuated Pneumatic
              Controllers Associated with Oil and
24
25   4
      The cover letters to the submittals described by Items 3(h) and 3(i) are dated May 10, 2019,
26   but they were received by EPA on May 8, 2019.
     5
       The First Amended Complaint refers to Section “1” of Regulation No. 7 as a part of a May 10,
27
     2019 submittal. The parties agree that the Arabic “1” is a typographical error and that the
28   reference was intended to be to Section “I,” with a Roman numeral.


                                                                    JOINT MOTION TO ENTER CONSENT DECREE
                                                                              CASE NO. 3:20-cv-06020-WHA
         Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 11 of 16




 1    Item State Implementation Plan                    Submittal Date (on        Date of Completeness
           Submittal and/or Applicable                  or about)                 by EPA
 2         Elements or Control Techniques                                         Determination or by
 3         Guidelines                                                             Operation of Law
           Gas Operations), and XX (Control
 4         of Emissions from Breweries in the
           8-hour Ozone Control Area)
 5
 6           5.      On February 11, 2021, the Acting Regional Administrator for EPA Region 8

 7   signed a notice partially approving and partially conditionally approving elements of a Colorado

 8   SIP submission addressing the elements described above for Claim 3 as Items 3(a), 3(c), 3(d),

 9   3(e), 3(f), 3(g), parts of 3(h) (excluding only subsections XVI.D.4.b.(i) and XVI.D.4.d.), and

10   3(i). Final Rule, 86 Fed. Reg. 11,125 (Feb. 24, 2021). Claim 3 is therefore moot as to Items

11   3(a), 3(c), 3(d), 3(e), 3(f), 3(g), the parts of 3(h) acted on, and 3(i).

12           6.      In Claim 4 of the First Amended Complaint, Plaintiffs allege that EPA has not

13   taken final action on the following elements in a SIP submittal for the Nevada County (Western

14   part), California nonattainment area (“Western Nevada County”) for the 2008 ozone NAAQS

15   and that more than 12 months have passed since a determination of completeness (including

16   completeness by operation of law), see First Am. Compl. ¶¶ 62-64:

17    Item State Implementation Plan                    Submittal Date (on        Date of Completeness
           Elements                                     or about)                 by EPA
18                                                                                Determination or by
19                                                                                Operation of Law
      4(a)    Contingency Measures                      December 7, 2018          June 7, 2019
20    4(b)    Emissions Inventory                       December 7, 2018          June 7, 2019
21    4(c)    Ozone Emissions Statement                 December 7, 2018          June 7, 2019
22    4(d)    Serious Area Ozone Attainment             December 7, 2018          June 7, 2019
              Demonstration
23    4(e)    RFP VOC and NOX – Moderate                December 7, 2018          June 7, 2019
              pursuant to 42 U.S.C. § 7511a(b)(1)
24            and 40 C.F.R. § 51.1110(a)(4)(i)
25            (“RFP VOC and NOX – Moderate”)
      4(f)    RFP VOC and NOX - Serious                 December 7, 2018          June 7, 2019
26            pursuant to 42 U.S.C. §§ 7502(c)(2)
              and 7511a(c)(2)(B) and 40 C.F.R. §
27
              51.1110(a)(4)(iii) (“RFP VOC and
28            NOX – Serious”)



                                                                      JOINT MOTION TO ENTER CONSENT DECREE
                                                                                CASE NO. 3:20-cv-06020-WHA
            Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 12 of 16




 1              7.     In Claim 5 of the First Amended Complaint, Plaintiffs allege that EPA has not
 2   taken final action on the following elements in SIP submittals for the Riverside County
 3   (Coachella Valley planning area), California ozone nonattainment area (“Coachella Valley
 4   nonattainment area”) for the 2008 ozone NAAQS and that more than 12 months have passed
 5   since a determination of completeness (including completeness by operation of law), see First
 6   Am. Compl. ¶¶ 66-68:
 7       Item State Implementation Plan               Submittal Date (on         Date of Completeness
              Elements                                or about)                  by EPA
 8                                                                               Determination or by
 9                                                                               Operation of Law
         5(a)    Contingency Measures pursuant to     April 27, 2017             October 23, 2017
10               42 U.S.C. §§ 7502(c)(9) and
                 7511a(c)(9) and 40 C.F.R. §
11
                 51.1102 (“RFP Contingency
12               Measures”)
         5(b)    Contingency Measures pursuant to     May 5, 2017                November 5, 2017
13               42 U.S.C. § 7502(c)(9)
                 (“Attainment Contingency
14
                 Measures”)
15
16              8.     The Parties reached agreement on a proposed Consent Decree resolving all
17   claims except for the allegation set forth in Paragraph 34, Table 1, Item 51, of the First
18   Amended Complaint in April 2021.6 Section 113(g) of the CAA, 42 U.S.C. § 7413(g), requires
19   EPA to provide “a reasonable opportunity by notice in the Federal Register to persons who are
20   not named as parties or intervenors to the action or matter to comment in writing” upon the
21   proposed Consent Decree. The proposed Consent Decree was noticed in the Federal Register on
22   May 3, 2021. Notice, 86 Fed. Reg. 23,359 (May 3, 2021). That notice and comment process is
23   now complete. EPA received no comments in response to the section 113(g) notice.7
24
25
26   6
       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Parties jointly stipulated to partially dismiss
     Claim 2 (only as to element 2(tt) and Claim 4 (only as to element 4(c)). Dkt. No. 36.
27   7
       See Docket No. EPA-HQ-OGC-2021-0304-0001, available at
28   https://www.regulations.gov/document/EPA-HQ-OGC-2021-0304-0001.


                                                                    JOINT MOTION TO ENTER CONSENT DECREE
                                                                              CASE NO. 3:20-cv-06020-WHA
         Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 13 of 16




 1           9.      Subsequent to publication of the section 113(g) notice, EPA took final action on
 2   several SIP submittals. The Parties revised the proposed Consent Decree to address those
 3   completed actions.
 4           10.     On May 13, 2021, the Acting Regional Administrator for EPA Region 9 signed a
 5   notice approving elements of a California nonattainment SIP submission addressing the
 6   Contingency Measures, Emissions Inventory, Serious Area Ozone Attainment Demonstration,
 7   RFP VOC and NOX – Moderate8, and RFP VOC and NOX – Serious elements for the Western
 8   Nevada County nonattainment area for the 2008 ozone NAAQS. Final Rule, 86 Fed. Reg.
 9   27,524 (May 21, 2021). Claim 4 is therefore moot as to these elements.
10           11.     On June 10, 2021, the Acting Regional Administrator for EPA Region 9 signed a
11   notice approving a California SIP submission addressing the deficiencies with Rule 1-220 of the
12   MCAQMD portion of the California SIP that were the basis for EPA’s July 3, 2017 limited
13   disapproval of MCAQMD Rule 1-220 at 82 Fed. Reg. 30,770. Final Rule, 86 Fed. Reg. 33,539
14   (June 25, 2021). Claim 1 is therefore moot.
15           12.     On June 16, 2021, the Acting Regional Administrator for EPA Region 9 signed a
16   notice approving elements of a California nonattainment SIP submission addressing the
17   Contingency Measures, Emissions Inventory, and Ozone Emissions Statement9 elements for the
18   Eastern Kern (Kern County), California nonattainment area for the 2008 ozone NAAQS.
19   Final Rule, 86 Fed. Reg. 33,528 (June 25, 2021). Claim 2 is therefore moot as to the
20   Contingency Measures, Emissions Inventory, and Ozone Emissions Statement elements, items
21   2(a), 2(b), and 2(c).
22
23   8
       EPA refers to RFP VOC and NOx – Moderate as “ROP” in the Final Rule. 86 Fed. Reg. at
     27,530. For Moderate and above nonattainment areas, CAA section 182(b)(1), requires VOC
24
     “emission reductions within 6 years after November 15, 1990, of a least 15 percent from
25   baseline emissions, accounting for any growth in emissions after 1990.” 42 U.S.C.
     § 7511a(b)(1). “Rate of Progress” or “ROP” is the term EPA uses to distinguish the initial 6
26   year RFP requirement for ozone nonattainment areas from the requirements for subsequent RFP
     intervals. See 40 C.F.R. § 51.1100(u) (defining ROP to mean “the 15 percent progress
27
     reductions in VOC emissions over the first 6 years required under CAA section 182(b)(1)”).
     9
28     See supra note 6.


                                                                 JOINT MOTION TO ENTER CONSENT DECREE
                                                                           CASE NO. 3:20-cv-06020-WHA
          Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 14 of 16




 1          13.     The proposed Consent Decree published pursuant to CAA section 113(g),
 2   42 U.S.C. § 7413(g), see 84 Fed. Reg. 46,519, has been revised to remove the obligations for
 3   EPA to take actions related to Claim 1, a portion of Claim 2, and Claim 4, which are now moot
 4   as described above.
 5          14.     The proposed Consent Decree requires EPA to take final action on the remaining
 6   SIP submittals in Claims 2, 3, and 5 by dates certain as set forth in Paragraphs 1.a, 1.b, and 1.c
 7   of the proposed Consent Decree.
 8          15.     The Parties jointly request that the Court enter the proposed Consent Decree.
 9          16.     Through the Consent Decree, EPA and Plaintiffs indicate their agreement that
10   the Consent Decree is fair, reasonable, and in the public interest. The Court should therefore
11   enter the attached Consent Decree.
12          WHEREFORE, the Parties respectfully move the Court to enter the attached Consent
13   Decree.
14   //
15   //
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                                                                   JOINT MOTION TO ENTER CONSENT DECREE
                                                                             CASE NO. 3:20-cv-06020-WHA
         Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 15 of 16




 1   Respectfully submitted,
 2   Date: July 8, 2021
 3                                          JEAN A. WILLIAMS
                                            Acting Assistant Attorney General
 4
                                                      /s Leslie M. Hill
 5                                          LESLIE M. HILL (D.C. Bar No. 476008)
 6                                          U.S. Department of Justice
                                            Environment & Natural Resources Division
 7                                          Environmental Defense Section
                                            4 Constitution Square
 8
                                            150 M Street, N.E.
 9                                          Suite 4.149
                                            Washington, D.C. 20002
10                                          Leslie.Hill@usdoj.gov
                                            Telephone (202) 514-0375
11
                                            Facsimile (202) 514-8865
12
                                            Attorney for Defendant
13
14   Of counsel:

15   Elizabeth Pettit
     Office of General Counsel
16   U.S. Environmental Protection Agency
17
     Michael Boydston
18   Office of Regional Counsel
     U.S. Environmental Protection Agency, Region VIII
19
20   Julie Walters
     Office of Regional Counsel
21   U.S. Environmental Protection Agency, Region IX
22
23
24
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                                                              JOINT MOTION TO ENTER CONSENT DECREE
                                                                        CASE NO. 3:20-cv-06020-WHA
     Case 3:20-cv-06020-WHA Document 37 Filed 07/08/21 Page 16 of 16




 1
                                /s Robert Ukeiley (email auth. 7/7/21)
 2                              Robert Ukeiley, Admitted Pro Hac Vice
 3                              Center for Biological Diversity
                                1536 Wynkoop Street, Suite 421
 4                              Denver, CO 80202
                                rukeiley@biologicaldiversity.org
 5                              Tel: (720) 496-8568
 6
                                Jonathan Evans (Cal. Bar No. 247376)
 7                              CENTER FOR BIOLOGICAL DIVERSITY
                                1212 Broadway, Suite 800
 8                              Oakland, CA 94612
                                Phone: 510-844-7118
 9                              Fax: 510-844-7150
                                email: jevans@biologicaldiversity.org
10
11                              Attorneys for Plaintiffs

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                                                    JOINT MOTION TO ENTER CONSENT DECREE
                                                              CASE NO. 3:20-cv-06020-WHA
